                        Case 8-24-70435-reg                 Doc 12   Filed 03/05/24      Entered 03/05/24 13:22:08


  Information to identify the case:

  Debtor 1:
                         Robert Wisnicki                                       Social Security number or ITIN:   xxx−xx−9019
                                                                               EIN: _ _−_ _ _ _ _ _ _
                         First Name   Middle Name   Last Name

  Debtor 2:                                                                    Social Security number or ITIN: _ _ _ _
                         First Name   Middle Name   Last Name
  (Spouse, if filing)                                                          EIN: _ _−_ _ _ _ _ _ _
  United States Bankruptcy Court:         Eastern District of New York          Date case filed for chapter:       7     2/4/24

  Case number:            8−24−70435−reg


                                      FINAL NOTICE OF SECTION 521 DEFICIENCIES

NOTICE IS HEREBY GIVEN THAT:

One or more deficiencies remain regarding the document(s) indicated below. Under § 521(i)(1) of the Bankruptcy Code,
these documents are required to be filed no later than 45 days from the filing of the petition.


                   Notice Required by 11 U.S.C. §342(b) of the Bankruptcy Code for Individuals Filing for Bankruptcy
                   (Official Form 2010) − Part 7 of Voluntary Petition Not Signed
                   Schedule A/B
                   Schedule D
                   Schedule E/F
                   Schedule I
                   Schedule J
                   Statement of Financial Affairs
                   Statement of Your Current Monthly Income and Means Test Calculation
                   Copies of Pay Statements received within 60 days prior to the date of filing


Failure to file the required documents within 45 days of the date of filing of the petition may result in the case being
dismissed without further notice or hearing, unless an extension of time under § 521(i)(3) or (4) of the Bankruptcy Code is
made.


Dated: March 5, 2024

                                                                             For the Court, Robert A. Gavin, Jr., Clerk of Court




 GTntcdef521a3.jsp [Final Deficiency Notice rev. 02/01/17]
